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 DOWD, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 Craig L. Forest,                                 )
                                                  )      CASE NO. 4:05CV2003
                Petitioner-Defendant              )      CASE NO. 4:01CR0321
                                                  )
        v.                                        )
                                                  )      MEMORANDUM OPINION
 United States of America                         )
                                                  )
                Respondent-Plaintiff.             )
                                                  )

                                        I. INTRODUCTION

        Before the Court is Petitioner-Defendant’s pro se petition for post-conviction relief

 pursuant to 28 U.S.C. Section 2255. For the following reasons, the petition is denied.

                    II. FACTUAL AND PROCEDURAL BACKGROUND

        The factual background for this case as it relates to issues in the present petition was

 well-stated in the Sixth Circuit’s published opinion in U.S. v. Forest, 355 F.3d 942 (6th Cir.

 2004), cert. denied 543 U.S. 856 (2004).

        “...[Petitioner] and Garner were part of a large drug trafficking operation in the
        area of Youngstown/Warren, Ohio. In March of 2001, agent of the Drug
        Enforcement Administration (DEA) obtained court authorization to begin
        intercepting the defendants’ cellular phone conversations. These interceptions
        culminated with the DEA agents arresting the defendants on June 1, 2001 at a gas
        station, along with two women couriers who had transported cocaine from
        California to Ohio. The two women pled guilty to conspiring to distribute
        cocaine. Forest and Garner went to trial. On November 2, 2001, Forest and
        Garner were found guilty on the various counts of the conspiracy, drug
        possession, and firearms possession.”

 Forest, 355 F. 3d at 947.
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        Following the guilty verdicts, the Court sentenced petitioner to 188 months in prison

 followed by 8 years of supervised release and a special assessment of $400 dollars.

        Petitioner filed a timely appeal of the conviction. On appeal he argued, along with co-

 defendant Garner, that the DEA improperly used Garner’s cell phone as a tracking device and

 thus violated his rights under both Title III of the Omnibus Crime Control and Safe Streets Act

 of 1968 (“Title III”) and the Fourth Amendment. The undisputed facts show that the DEA

 phoned Garner’s phone and the cell phone’s response indicated which cellular tower was nearest

 to his location. The Sixth Circuit concluded that Petitioner lacked standing to raise the issue of

 an alleged violation of his rights because the phone at issue was owned by co-defendant Garner.

 The Court of Appeals went on to consider the Title III and Fourth Amendment issues raised by

 co-defendant Garner and affirmed the Court’s decision to deny the motion to suppress. 355 F.3d

 at 948-952.

        Petitioner again makes Title III and Fourth Amendment arguments in this Section 2255

 action. He also claims for the first time that the Government was required and failed to obtain an

 order to intercept electronic communications and for that reason any evidence related to the cell

 phones should be suppressed. Further, Petitioner alleges for the first time that the wiretap

 interceptions were not properly sealed pursuant to 18 U.S.C. 2518(8)(a). He now also alleges

 that he was denied the effective assistance of trial and appellate counsel for their failure to

 properly raise these issues before the trial and appellate courts. The Government has filed a

 response opposing the Section 2255 petition (Doc. No. 6) and Petitioner has filed a rebuttal brief

 in support of the petition (Doc. No. 8).



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                                  III. STANDARD OF REVIEW

        An action based on the provisions of 28 U.S.C. 2255 is not a substitute for direct appeal.

  United States v. Frady, 456 U.S. 152 (1982); United States v. Duhart, 511 F.2d 7, 8 (6th Cir.

 1975). Instead, as the statute provides, a collateral attack on a conviction must be based on the

 claim that the sentence was imposed in violation of the Constitution or laws of the United States.

 The nature of that violation must result in a “fundamental defect which inherently results in a

 complete miscarriage of justice” or “an omission inconsistent with the rudimentary demands of

 fair procedure.” Hill v. United States, 368 U.S. 424,428 (1962). As Petitioner himself states:

 “[28 U.S.C. Section 2255] is reserved only for transgressions of Constitutional rights, and for a

 narrow range of fundamental defects, which if condoned, would result in a miscarriage of

 Justice.”(Doc. No. 8, Reply brief at 2).

                                            IV. DISCUSSION

 A. Petitioner’s Title III and Fourth Amendment Claims Based on the alleged failure to obtain an
 Electronic Communications Interception Order

        The government objects to Petitioner’s claims pursuant to Title III and the Fourth

 Amendment as repeating issues already decided on appeal. To the extent Petitioner raises issues

 already considered and ruled upon, those issues may not be the subject of this present petition.

 However, as Petitioner seeks to clarify in his reply brief, his present argument is not based on

 alleged misuse of cell site data, which is how he characterizes the issue on appeal. Instead,

 Petitioner challenges “the interception of electronic communication”when in fact the government

 had sought only an interception order for wireless communication. See Doc. No. 8, at p. 4-5.

 Petitioner argues that to obtain cell phone date in the nature of that used in this case, a separate

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 Interception Order for electronic communications was required.

        As the Court previously held and the Sixth Circuit concurred, the Interception Order for

 Defendant Garner’s cell phone, the one at issue in the petition was proper under the statute as an

 interception of a wire communication. Both the Court and the Sixth Circuit assumed without

 deciding that the cell site data may have constituted an electronic communication. Petitioner

 cites no cases that support his contention that a separate order seeking electronic

 communications was required.

        Furthermore, this issue related to the allegedly unlawful interception of electronic

 communication has already been addressed directly by the Court. In denying Petitioner’s original

 motion to suppress, the Court stated:

        Although Defendants argue that the government used their cellular phones as
        mobile tracking devices, Defendants are really challenging the government’s
        ability to intercept electronic communications. Based on these “unlawful”
        interceptions of electronic communications, Defendants move to have all the
        evidence suppressed. However, as previously discussed, Congress has not
        provided a remedy of suppression for the unlawful interception of electronic
        communications; rather, this remedy is limited to unlawfully intercepted wire and
        oral communications. Accordingly, Defendants’ motions for suppression must be
        denied.

 October 1, 2003 Memorandum Opinion and Order, at 11.

        The Sixth Circuit reached the same conclusion, that suppression is not a remedy for an

 alleged unlawful interception of an electronic communication. Forest, 355 F.3d at 949. In

 reaching that conclusion, the panel also stated its view that “a strong argument exists, however,

 that cell site data is not a form of communication at all.” (355 F.3d at 949, emphasis in original).




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 In that case, there would not even be an argument for suppression under Title III. The Court

 expressed much the same view in its October 1, 2003 Memorandum Opinion and Order, at 11.

        Finally, the Court of Appeals also found that Petitioner lacked standing to even raise

 arguments related to the use of the cell phone at issue because it was owned by co-defendant

 Garner. As a result, Petitioner was held not to be an “aggrieved person” within the meaning of

 Title III. Petitioner could also not assert Fourth Amendment rights belonging to his co-

 defendant. Petitioner continues to lack standing to raise these issues in this present petition. For

 all of the reasons stated, the Court finds Petitioner’s claims pursuant to Title III and the Fourth

 Amendment to be without merit.

 B. Petitioner’s Failure to Properly Seal Claim

        Petitioner also claims that the government failed to seal the intercepted conversations

 pursuant to 18 U.S.C. 2518(8)(a) which requires that records be “immediately” sealed as soon as

 practicable after the expiration of the order. The Court agrees with the government that a

 procedural bar prevents Petitioner from raising this issue for the first time in a Section 2255

 petition. However, the Court has also considered Petitioner’s claims on the merits and finds them

 to be unsupported and in fact contrary to the evidence.

        The government’s response to the failure to properly seal claim has three attachments,

 Exhibits A, B, and C. These attachments demonstrate the immediate sealing of the records at

 issue pursuant to the direction of the authorizing judge. See Doc. No. 6-2, Exhibits A-C. Based

 on the evidence submitted, the authorizing judge complied with the terms of the statute in terms

 of sealing the record. Petitioner’s claim that one of the tapes, which is still unidentified, was



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 altered, is unsubstantiated. The Court finds that Petitioner has failed to make or support a

 substantive claim that there was error in the manner in which the records were sealed.

 C. Petitioner’s Ineffective Assistance of Trial/Appellate Counsel Claim

         Under the teachings of Strickland v. Washington, 466 U.S. 668,687 (1984), the petitioner

 must show that he was denied effective assistance of counsel and that the denial negatively

 affected the outcome of the case. As the Supreme Court stated in Strickland:

         A convicted defendant’s claim that counsel’s assistance was so defective as to
         require reversal of a conviction or death sentence has two components. First, the
         defendant must show that counsel’s performance was deficient. This requires
         showing that counsel made errors so serious that counsel was not functioning as
         the “counsel” guaranteed the defendant by the Sixth Amendment. Second, the
         defendant must show that the deficient performance prejudiced the defense. This
         requires showing that counsel’s errors were so serious as to deprive the defendant
         of a fair trial, a trial whose result is reliable. Unless a defendant makes both
         showings, it cannot be said that the conviction or death sentence resulted from a
         breakdown in the adversary process that renders the result unreliable.

 Strickland v. Washington, 466 U.S. at 687.

         Petitioner argues that his trial counsel was ineffective because they failed to raise and

 successfully pursue the same arguments that Petitioner now makes. The Court has already

 considered those arguments and finds that counsel would not have prevailed on these arguments

 if made. Accordingly, the Court finds that there were no prejudicial errors alleged or shown

 sufficient to cause the defendant to be deprived of a fair trial. In his reply brief, Petitioner also

 claims the ineffectiveness of appellate counsel, stating that he asked for an ineffective assistance

 of trial counsel claim to be made as part of his appeal to the Sixth Circuit and that he was

 allegedly told that he would be required to make that as part of any relief he would seek by way

 of this petition. (Doc. No. 8, Reply at 12). However, no basis for ineffective assistance of trial

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 counsel has been demonstrated. For this petition, the movant must do more than merely allege

 such violations. The failure to demonstrate that counsel erred in a manner that renders the

 decision of the Court unreliable leads the Court to find that the claims of ineffective assistance of

 counsel are without merit.

         Finally, the Court finds that “the records of this case conclusively demonstrate that the

 prisoner is entitled to no relief,” and therefore, the Court denies the motion filed by the petitioner

 without conducting a hearing pursuant to the procedures established in 28 U.S.C. Section 2255.

                                         V. CONCLUSION

         For the foregoing reasons, Defendant/Petitioner’s petition for relief pursuant to 28 U.S.C.

 Section 2255 is denied.

         The Court further finds no basis for a certificate of appealability and will not issue a

 certificate of appealability.



 IT IS SO ORDERED.



 Date: February 21, 2006                          /s/ David D. Dowd, Jr.
                                                David D. Dowd, Jr.
                                                U.S. District Judge




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